                                                                                   VANESSA L. A~TRONG

                              UNITED STATES DISTRICT COURT
                                                                                         JUN t 1 2019
                              WESTERN DISTRICT OF KENTUCKY
                                                                                     U.S. DISTRICT COURT
                                      AT LOUISVILLE                                 WESrN. DIST. KENTUCKY

UNITED STATES OF AMERICA                                                               PLAINTIFF



V.                                         CRIMINAL ACTION NO . 3: 19-CR-00019-CRS-RSE



BRYAN DOUGLAS CONLEY                                                               DEFENDANT

     MOTION FOR REVOCATION OF BOND AND ISSUANCE OF ARREST WARRANT

                                   ELECTRO NI CALLY FILED

          Pursuant to Title 18, United States Code, Section 3148, the United States of America

hereby moves this Court to revoke the bond of the defendant, Bryan Douglas Conley.

          The defendant was charged by superseding indictment with

of violation of Title 18, Untied States Code, Section 1201 , 1344, 1028A, and 875 . The

defendant was released on bond with certain condition that he be subject to electronic

monitoring, among other conditions. A condition of the defendant's release is that he wear an

electronic monitoring device. According the United States Office of Probation, Conley' s ankle

monitor was removed and last located near Smith's Grove, Kentucky. Conley' s failure to wear

his ankle monitor, among other violations, constitutes a violation of the conditions of his bond.

          Accordingly, pursuant to Title 18, United States Code, Section 3148, it is hereby

requested that the defendant's release be revoked and a warrant for his arrest be issued. An Order

of Detention cannot be entered until there is a hearing and findings made, pursuant to Section

3148(b). The United States hereby requests that such a hearing be held upon the defendant's

arrest.
       Wherefore, at this juncture, the United States requests that defendant's release be revoked

and an Arrest Warrant be issued.

                                              Respectfully submitted,

                                              RUSSELL M. COLEMAN
                                              United States Attorney

                                              s/Joshua Judd
                                              Joshua Judd
                                              Assistant U.S. Attorney
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2019, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system, which will send a notice of electronic filing to the
following: Laura Wyrosdick, counsel for the defendant.



                                              s/ Joshua Judd
                                              Joshua Judd
                                              Assistant U.S. Attorney
